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IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLORADO

FILED

UNITED STATES DISTRICT COURT
DENVER, COLORADO

| OCT 26 2020
GREGORY JOHNSON, _ Plaintiff JEFFREY P. COLWELL
CLERK

Civil Action No.: 1:20-cv-02388

 

V.
Ms. Carter dba Warden, Defendant(s)
|

Notice and Response to Mr. Gallagher
dba Park Commissioner, Magistrate Judge

|, Johnson Gregory comes in propria persona special appearance. | write you this derogatory letter in
honor of GREGORY JOHNSON a legal entity, Government public policy, states as such, "As to the inability
of the corporate UNITED STATES to recognize and to work with any entity other than another artificial
corporate type structure can be filed in the case which is known as S.C.R. 1795 Penhallow V. Doane's
Administrators 3 U.S.54; 1 L.Ed. 57;3 Daill.54 As much as every government is an artificial person, An
abstraction, and a creature of the mind only, a government can interface only with other artificial
person the imaginary having neither actuality or substance is foreclosed from creating and obtaining
parody with the tangible, the legal manifestation of this that no government as well as any law agency,
aspect, court etc. Can concern itself with anything other than corporate artificial persons and contracts
between them. The legality created fiction called the UNITED STATES is bankrupt and holds no lawful
constitutionality mandated silver and gold coins to back up or pay their debts. Privately held and
federally held gold coins and bullions in America were seized by the executive order of April 5th 1933
and paid to the creditors the private federal reserve bank corporation (FRB) under the terms of
bankruptcy therefor the united states has no article of good standing to sue. Congress-- still meeting
under executive-- confirmed this bankruptcy through the joint resolution to suspend the Gold Standard
and abrogate the Gold Clause June 5th 1933 in H.J. Res. 192 73rd Congress 1st session public law 73-10
within this 1933 public law it states in part “Every provision contained i in or made with respect to any
obligation which purports to give the oblige a right to require payment in gold or a particular kind of
coin currency , or an amount of money of the UNITED STATES measured thereby is declared to be
against public policy.

in 1950, the corporate US declared bankruptcy a 2nd time whereby the secretary of treasury was
appointed as "receiver" of the bankruptcy and the reorganization Plan NO.26 Title 5 USC 903, Public Law
94-564 Legislative history, Page. 5967. The only asset the UNITED STATES have in order to pay their
bankruptcy debt since 1933 is the people themselves. If the UNITED STATES openly declared this, the
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people would never allow them their laborers and futures to be collateral to this bankruptcy debt.
Consequently, they legally pledge the future labors and tax revenue of the Americans, by and through
the ALL CAPS fictional legal persons they have created, as collateral for credit to pay daily operational
cost and ever-increasing debt. Sir let me put it like this to show you why | sent you a copy of UCC 1
financing statement, and assumed named certificate and standing of status and peace to the world and
other relevant documents that | have also sent to Steven Muchin dba Secretary of Treasury.

|
LEGAL PERSON V. THE LAWFUL BEING

Just who is the full cap person, i.e GREGORY JOHNSON? He is the legal fiction the government created to
take the place of the real being i.e Johnson, Gregory the lawful name of birthright has been substituted
by a legal fiction created by the government if the lawful christian name answers as the legal person the
"two" are recognized as being one in the same. However, if the lawful being refuses to accept the legal
fiction the two are separated therein lies a simple solution refusal by the lawful person to accept and
answer for the legal person As a result of the federal government bankruptcy was their creation of a
legal fiction known as THE UNITED STATES as part of their legal reorganization. Each state was also
converted to their respective fictional legal person |.e THE STATE OF COLORADO. Legal fictions can
create further legal fictions, such as corporations or any other fictional person easily identified by being
written in All capital letters. All areas of government, including the purported courts of law, are
currently authorized by, and operating as, legal fictions for example the 1st district court of THE STATE
OF IDAHO or the UNITED STATES DISTRICT COURT can only recognize other legal persons. Therefore,
lawful names are never entered into record or placed on indictments! presentments, etc. It has been
substituted with the legal person written with ALL CAPS. Jurisdiction in such legal courts is only with
other with legal fictions. The only jurisdiction a lawful can enter is a lawful constitutional court that is
why | stated what court the suit is in? It is a constitutional court | know Judge Babcock that you can’t
recognize this court as a constitutional court | am giving you notice that is my main intent because under
UCC-9-308, UCC-9-310 is were | request this same suit be heard so | filed this same suit in the Original
Supreme Court not the one that was moved in 1948 | filed this suit with the United States District Court
for the District of Columbia. The assumed name certificate from the secretary of state office in
Minnesota plainly verified that |, Gregory of the family of Johnson a secured party creditor, holder in due
course, and registered name holder for the corporation known as GREGORY JOHNSON is separate from
me the flesh and blood man. And the UCC-1 Financing statement gives proof that the debtor is my
collateral and all liabilities are attributed to the debtor, which because H. a R 192 of 1933 I can discharge
all of his debts through the receiver of the bankruptcy the United States Treasure Steven Muchin dba
Secretary of US Treasury for Mr. Gallagher to say commerce has nothing, to do with crime shows proof
that this statement is fictional because if he read corporate private codes and statues Title 27 code of
federal regulations section 72.11 and Title 26 of federal regulations 403. 38 (d) (1) he will see that it
states all crimes are revenue crimes which means that they can be satisfied with payment and or
discharge of debt. As | state to you now and honor | accept for value and return for value all
presentments and indictments. And | have discharged all liability's attributed to the debtor GREGORY
JOHNSON. As | stated in the amendment if a man invokes a statue of/the United States for his benefit
and a judge goes against that man that judge becomes in violation of 62 Stat 696 (18 USC 242) which
whoever under color of any law, statue, ordinance, regulation or custom willfully subjects any person in
any state, territory, commonwealth, possession, or district to the deprivation of any right, privileges, or
immunities secured or protected by the constitution or laws of the United States or to different

 
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punishment pains or penalties, on account of such person being an alien or by reason of his or her color
or race then are prescribed for the punishments of citizens shall be fined under this Title or imprisoned
not more than one year or both. Now after | have served 17 yrs. as surety for the defendant. And now
that | have full disclosure and have declared my standing of status along with other standing documents
(see attachments) | have no doubt as to who GREGORY JOHNSON is ahd who Johnson, Gregory secured
party creditor is not. | state for this court and | apologize for all past commercial dishonors on behalf of
the defendant and plaintiff GREGORY JOHNSON. | now request to be teleased from bondage because lI, a
living man, have not committed any act against the State nor any injured party nor was Johnson,
Gregory ever named in any indictment, presentment or commitment order | was tricked into being
surety now that that has been corrected | request that the law prevails and | be released as requested.
Judge Babcock there is evidence that there was never a controversy before the court initiate or a valid
claim against the legal entity. | have asked where the proper notice is'so | may deal with this on behalf of
the defendant (debtor) and have received no response!

Because of ignorance and not having full disclosure of the contract neither did my parents have it. | was
a surety for the legal fiction. | now have full disclosure and a security agreement with the legal entity
with a name similar to mine | have filed and discharge all debts pertaining too case number #03-80758
and any debts attributed to him. | own nothing but | control everything pertaining to the ALL CAP
Gregory Johnson. | am now aware contract between him and | and the birth certificate is proof of said
contract. | now control and am CEO of that corporation to act on his behalf, Mr. Gallagher | recommend
your oath of office because you swore to uphold the constitution andito protect its citizens. Officers of
the law in their execution of the process are obliged to know the requirements of the law and if they
mistake them whether through ignorance or design, and anyone is harm by their error they must
respond in damages, Rosters V. Marshal (United states use of Rogers V conklin) | wall (US) 644,171 L.Ed.
714 (emphasis added) | am Gregory of the family Johnson a holder in due course a secured creditor an
authorized representative for the all cap name debtor a legal entity | humbly request immediate release
and all interest on the court bonds be returned to me! where is my check? the court made money off
my arrest and to view the cusp report will show that court sold those bonds to private corporation for
gain and because of that a united states constitution was violated the) 5th amendment (Due process of
law) | ask in closing these 4 questions what is your name?, Do you have a claim against me? Do you
know anyone who has a claim against me? i request the order of the court be released to me
immediately.

Respectfully submitted, this 22"4 day of October 2020

 

 

Gregory Johnson
FCI Florence

PO Box 6000
Florence, CO 81226
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Authorized By:

Gregory Johnson
dba GREGORY JOHNSON

Chief Executive Officer

 

UCC-1 #20192034492
File #1187304800026 |
Secretary of State Steve Simon

Filed Date: October 20, 2020

butchie@cybermate.site

 
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CERTIFICATE OF SERVICE

 

This certifies that | have this day served a copy of this document today via First Class upon:
Clerk of Court
United States District Court
901 19th Street, Rm A105

Denver, Colorado 80294

October 22, 2020

 
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Office of the Minnesota Secretary of State
Certificate of Assumed Name

Minnesota Statutes, Chapter 333

The filing of an assumed name does not provide a user with exclusive rights to that
name. The filing is required for consumer protection in order to enable customers to
be able to identify the true owner of a business.

 

 

ASSUMED NAME: GREGORY JOHNSON

|
PRINCIPAL PLACE OF BUSINESS: 1125 Beatrice St Detroit MI 48217 usa

NAMEHOLDER(S):
Name: Address;
Gregory Johnson 1125 Beatrice St Detroit MI 48217 USA

If you submit an attachment, it will be incorporated into this document. If the attachment conflicts with the
information specifically set forth in this document, this document supersedes the data referenced in the attachment.

By typing my name, I, the undersigned, certify that | am signing this document as the person whose signature is required,
or as agent of the person(s) whose signature would be required who has authorized me to sign this document on his/her
behalf, or in both capacities. | further certify that | have completed all required fields, and that the information in this
document is true and correct and in compliance with the applicable chapter of Minnesota Statutes. | understand that by
signing this document | am subject to the penalties of perjury as set forth in Section 609.48 as if | had signed this
document under cath.

SIGNED BY: Gregory Johnson, el, CEO

MAILING ADDRESS: None Provided

EMAIL FOR OFFICIAL NOTICES: _ butchie@cybermate.site

 

 
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STATE OF COLORADO Jena Griswold
Department of State Secretary of State of the State of Colorado
1700 Broadway Suite 200

Denver, Colorado 80290

 

 

 

Search Report

This report reflects documents delivered on paper through 10/16/2020 and documents delivered electronically
through 10/19/2020

Search Criteria:
Debtor Name: Gregory Johnson
Normalized org. name: GREGORYJOHNSON

This report was created on: Monday, October 19, 2020 03:13:47 PM

Record 1 of 4

Record ID #: 20192034492
Record Type: UCC

File Date: 04/24/2019 09:21:32 AM
Filing office: Secretary of State

Lapse date:

A debtor named in the financing statement is a transmitting utility.

 

[Debtor: GREGORY JOHNSON |
Address 1: USP Florence
Address 2: PO Box 6000
City: Florence State: CO Zip/Postal Code: 81226
Province: Country: United States
Comments: Added by: 20192034492

 

|Secured Party: Johnson, Gregory |
Address 1: USP Florence
Address 2: PO Box 6000
City: Florence State: CO Zip/Postal Code: 81226
Province: Country: United States
Comments: Added by: 20192034492

 

| [Document # File Date IType
1 20192034492 04/24/2019 UCC financing statement

 

 

 
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UCC Financing Statement
Colorado Secretary of State

Date and Time: 04/24/2019 09:21:32 AM

Master ID: 20192034492

Validation Number: 20192034492

 

 

Amount: $8.00
[Debtor: (Organization)
Name: GREGORY JOHNSON
Address1: USP Florence
Address2: PO Box 6000
City: Florence State: CO ZIP/Postal|Code: 81226

Province: Country: United States
The debtor is a transmitting utility.

 

 

|Secured Party: (Individual) |

Last name: Johnson First name: Gregory Middle name: Suffix:
Address1: USP Florence
Address2: PO Box 6000

 

 

City: Florence State: CO Z|P/Postalj|Code: 81226
Province: Country: United States

[Collateral | |
Description:

ALL LIALIBILITIES ATTRIBUTED TO DEBTOR

 

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Work Item 1187304800026
Original File Number 1187304800026

STATE OF MINNESOTA

OFFICE OF THE SECRETARY OF STATE
FILED

10/19/2020 11:59 PM

Prtrre (Phamen

Steve Simon
Secretary of State

 

 
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5PO Box WOOD
Jiowiee,CO S122

PLACE STICKER AT TOP OF ENVELOPE TO THE RIGHT
OF THE RETURN ADDRESS, FOLD AT DOTTED LINE

Mt

7019 2970 OOOO 4638 2b54

 

Gz

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MED STAT!
POSTAL SERVICE ©

1023

 

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